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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 CRESCENT ELECTRIC SUPPLY COMPANY,
     INC. OF NEW YORK,                                                16-cv-3352-arr-smg

                                             Plaintiff,
                                                                      NOTICE OF VOLUNTARY
         - against -                                                  DISMISSAL

 LIBERTY MUTUAL INSURANCE COMPANY,

                                              Defendant.
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         PLEASE TAKE NOTICE THAT Plaintiff, CRESCENT ELECTRIC SUPPLY

 COMPANY, INC. OF NEW YORK, by its attorneys, Korsinsky & Klein, LLP, hereby

 voluntarily dismisses this Action pursuant to rule 41(A)(1)(a)(i) of the Federal Rules of Civil

 Procedure, without prejudice.

 Dated: Brooklyn, New York
        October 31, 2016

                                                              KORSINSKY & KLEIN LLP


                                                              By:    /s/ Michael Korsinsky
                                                                       Michael Korsinsky
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